           Case 3:21-cv-06118-JD        Document 68-1     Filed 07/08/22    Page 1 of 2


 1   QUINN EMANUEL URQUHART & SULLIVAN LLP
     Michael E. Liftik (CA Bar No. 232430)
 2   1300 I Street, Suite 900
 3   Washington, D.C. 20005
     Telephone: (202) 538-8000
 4   michaelliftik@quinnemanuel.com

 5
     Counsel for Defendants Dfinity USA Research LLC, Dfinity Foundation, and Dominic Williams
 6
                              UNITED STATES DISTRICT COURT
 7
                            NORTHERN DISTRICT OF CALIFORNIA
 8
     DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
 9
     of All Others Similarly Situated,
10                                                       DECLARATION OF MICHAEL E.
                                Plaintiff,               LIFTIK IN FURTHER SUPPORT OF
11                                                       DEFENDANTS’ MOTION TO
               v.                                        DISMISS AMENDED CLASS
12                                                       ACTION COMPLAINT
13   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
14
                                Defendants.
15

16

17

18

19

20

21

22

23

24

25

26

27
28

                     DECLARATION OF MICHAEL E. LIFTIK IN FURTHER SUPPORT OF
                 DEFENDANTS’ MOTION TO DISMISS AMENDED CLASS ACTION COMPLAINT,
                                     CASE NO. 3:21-CV-06118-JD
           Case 3:21-cv-06118-JD              Document 68-1      Filed 07/08/22       Page 2 of 2


 1           I, Michael E. Liftik, declare:

 2           1.    I am an attorney at law licensed to practice before this Court and all of the courts

 3   of the state of California. I am an attorney with the law firm Quinn Emmanuel Urquhart &

 4   Sullivan, LLP, counsel of record for Defendants Dfinity USA Research, LLC, Dfinity

 5   Foundation, and Dominic Williams in the above-captioned matter. I am one of the attorneys

 6   responsible for the representation of Defendants Dfinity USA Research, LLC, Dfinity

 7   Foundation, and Dominic Williams in this matter and, as such, I have personal knowledge of the

 8   facts set forth in this declaration. If called as a witness for this purpose, I could and would testify

 9   competently under oath to the facts stated herein.

10           2.    Attached hereto as Exhibit A is a true and correct copy of the Complaint (Dkt. 1)

11   filed in the action captioned Dfinity Foundation v. New York Times Co., No. 1:22-cv-5418 (June

12   2022 S.D.N.Y.).

13
     Executed on this 8th day of July, 2022.
14

15
                                                  /s/ Michael E. Liftik
16                                                Michael E. Liftik (CA Bar No. 232430)

17

18

19

20

21

22

23

24

25

26

27
28
                                                        -2-
                      DECLARATION OF MICHAEL E. LIFTIK IN FURTHER SUPPORT OF
                  DEFENDANTS’ MOTION TO DISMISS AMENDED CLASS ACTION COMPLAINT,
                                      CASE NO. 3:21-CV-06118-JD
